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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                   Chapter 7
    In re:
                                                   Case No. 19-12264 (CTG)
    NOBILIS HEALTH CORP., et al.,1
                                                   (Jointly Administered)
             Debtors.



    ALFRED T. GIULIANO, solely in his
    capacity as the Chapter 7 Trustee for the Adv. Proc. No. 21-51183 (CTG)
    jointly administered bankruptcy estates
    of Nobilis Health Corp., et al.,          Related Docket Nos. 106, 113, 117, 121


                    Plaintiff,

    v.

    HARRY J. FLEMING, et al.,

                    Defendants.


                   ORDER ON MOTIONS FOR SUMMARY JUDGMENT

             Upon consideration of the Motions for Summary Judgment (the “Motions”)

filed by Defendants Harry J. Fleming (D.I. 106), Marcos Rodriguez and Kenneth Efird

(D.I. 113), Steve Ozonian (D.I. 117), and P. David Young and Brandon Moreno (D.I.

121),2 the Court finds and concludes that:

             Pursuant to a scheduling order entered by the Court on August 31, 2022, all

fact discovery in the above-captioned adversary proceeding was set to close by April



1 Debtors are: Northstar Healthcare Holdings, Inc., Case No. 19-12262; Northstar Healthcare
Acquisitions, L.L.C., Case No. 19-12263; and Nobilis Heath Corp., Case No. 19-12264.
2 This Court entered an order at D.I. 129 approving the dismissal of claims filed against Defendants

James Springfield, Donald Kramer, Tom Foster, Peter Horan, and Samuel Palermo. Accordingly, the
Motions filed by those defendants are mooted.
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28, 2023. That same order provides that the trustee’s disclosure of expert testimony

must be submitted on or before June 2, 2023, with expert depositions set to occur on

or before September 8, 2023. Defendants filed their Motions between January 13,

2023, and January 23, 2023, three months before the close of fact discovery.

        On a summary judgment motion, where the movant does not bear the ultimate

burden of persuasion at trial (such as when, as here, a defendant moves for summary

judgment on an issue on which the plaintiff bears the burden), the movant may make

a prima facie showing that it is entitled to summary judgment in one of three ways:

First, by producing evidence that negates the nonmovant’s claim; second, by showing

an absence of evidence supporting an essential element of the nonmovant’s claim; or

third, by some combination of the two.3

        Certain Defendants maintain that the trustee has not produced any evidence

that Defendants, as officers and directors of debtor Nobilis, breached their fiduciary

obligations to the debtor. Others argue that whatever evidence the trustee has

presented is insufficient to prove a Caremark claim or show that Defendants breached

their duties of care. The trustee makes two arguments in response. First, the trustee

contends that there are genuine issues of material facts concerning whether

Defendants’ breached their fiduciary obligations and to whom those obligations were




3 11 Moore’s Federal Practice – Civil § 56.40 (2023); see also, Celotex Corp. v. Catrett, 477 U.S. 317, 323-

324 (1986).

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owed.4 Second, the trustee asks this Court to, under Fed. R. Civ. P. 56(d), refrain

from resolving the Motions at this time.

        While, as a procedural matter, a motion for summary judgment may be filed

any time until 30 days after the close of discovery,5 this is qualified by the

understanding that summary judgment must be denied “where the nonmoving party

has not had the opportunity to discover information that is essential to his

opposition.”6 A party asking the Court to defer resolving a summary judgment motion

under 56(d) must show, by affidavit or declaration, the specific reasons why it cannot

yet present facts essential to justify its opposition to the motion. Because 56(d)

operates as a “check” against 56(b)’s broad window for bringing summary judgment

motions, courts regularly grant motions under 56(d).7 Further, courts in this Circuit

are more inclined to find that a summary judgment is premature under 56(d) if little

to no discovery has been conducted.8




4 Defendants maintain that they could not owe any duties to debtors Northstar Healthcare Holdings,

Inc. or Northstar Healthcare Acquisitions, L.L.C. because Defendants were only officers and directors
of debtor Nobilis Health Corp.
5 Fed. R. Civ. P. 56(b).

6 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 n.5 (1986).; See also, In re Avandia Mktg., Sales &

Prods. Liab. Litig., 945 F.3d 749, 761 (3d Cir. 2019).
7 St. Surin v. Virgin Island Daily News, 21 F.3d 1309, 1314 (3d Cir. 1994) (“District courts usually

grant properly filed Rule 56[d] motions as a matter of course.”) (citations and internal quotation
omitted).
8 Shelton v. Bledsoe, 775 F.3d 554, 568 (3d Cir. 2015) (“If discovery is incomplete, a district court is

rarely justified in granting summary judgment, unless the discovery request pertains to facts that are
not material to the moving party’s entitlement to judgment as a matter of law.”); Miller v. Beneficial
Mgmt. Corp., 977 F.2d 834, 845 (3d Cir. 1992) (holding that where key parties had yet to be deposed,
“the incomplete state of discovery alone should have precluded summary judgment on the merits.”);
In re Stone & Webster, Inc., No. 00-2142 (PJW), 2009 Bankr. LEXIS 257 at *5 (Bankr. D. Del. Feb. 18,
2009) (“[G]enerally, courts are careful not to prematurely consider motions for summary judgment,
especially when little or no discovery has been conducted.”).

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      Here, the trustee represents that: (1) no depositions have occurred in this case

to date, although the trustee intends to depose each of the Defendants; (2) the trustee

has not had the opportunity to present expert testimony on Defendants’ alleged

accounting and financial failures; and, (3) while the trustee’s investigatory burden

has been lessened by the production of all documents from a separate (but related)

state-court action, the trustee has not yet completed his review of those documents.

      In light of well-settled case law cautioning courts not to deprive litigants of a

reasonable opportunity to take discovery by granting summary judgment in the midst

of ongoing discovery efforts, and given the fact that the parties agreed to a scheduling

order that, at the very least, gives the trustee until April 28 to finish fact discovery,

it is hereby ORDERED that Defendants’ Motions are denied without prejudice.

Defendants may re-file motions for summary judgment upon the completion of

discovery.




Dated: April 17, 2023
                                          CRAIG T. GOLDBLATT
                                          UNITED STATES BANKRUPTCY JUDGE




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